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Attorneys for Defendant State Farm Fire and Casualty Company

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION


CRAIG DISHER AND SCOTT                  Cause No. 15-cv-60-BU-SEH
DISHER,

             Plaintiffs,
                                        NOTICE OF SETTLEMENT
v.

STATE FARM FIRE AND
CASUALTY COMPANY dba STATE
FARM or STATE FARM GROUP, and
DOES I through X.

            Defendants.



        Defendant State Farm Fire and Casualty Company (“State Farm”), hereby




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provides this Notice of Settlement. Within thirty days of this Notice, the parties will

file a stipulation for dismissal with prejudice and proposed order of dismissal with

prejudice.

      Dated this 7th day of December, 2015.

                                        MOORE, COCKRELL,
                                        GOICOECHEA & JOHNSON, P.C.

                                        /s/ Dale R. Cockrell
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                        CERTIFICATE OF SERVICE


      The undersigned does hereby certify that a true copy of the foregoing

document was served upon the following individuals by the means designated

below:

[ X] CF/ECM              Daniel B. Bidegary
[ ] Federal Express      Bert J. Certain
[ ] Hand-Delivery        BIDEGARY LAW FIRM, LLC
[ ] Facsimile            2042 Stadium Drive, Suite 1
[ ] E-Mail               Bozeman, MT 59715
                         Attorneys for Plaintiffs



      Dated this 7th day of December, 2015.



                              /s/Dale R. Cockrell
                              Dale R. Cockrell




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